     8:12-cv-00315-JFB-FG3 Doc # 7 Filed: 10/22/12 Page 1 of 1 - Page ID # 23



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

CLAIRE J. KAY, an individual, and )                      CASE NO. 8:12-cv-315
CLAYMORE CONSTRUCTION, CO., a )
Michigan corporation,             )
                                  )
                   Plaintiffs,    )
                                  )
      vs.                         )                              ORDER
                                  )
UNITED OF OMAHA LIFE              )
INSURANCE COMPANY, a Nebraska )
corporation,                      )
                                  )
                   Defendant.     )

         This matter is before the Court on the Defendant's motion to strike the judgment

registered in this case on August 29, 2012 (Filing No. 1). Being fully advised in the

premises, the Court finds that the registration of the judgment in this case does not

comply with 28 U.S.C. § 1963 because: (1) the judgment entered by the United States

District Court for the Eastern District of Michigan in the underlying matter has not

become final by appeal and (2) the United States District Court for the Eastern District

of Michigan has not entered an order allowing registration of the judgment in this Court.

Accordingly, the Defendant's motion to strike (Filing No. 3) is granted. The Clerk is

directed to strike the judgment (Filing No. 1) from the public record of the Court and the

judgment shall not be treated as a judgment in this district. It is further ordered that this

case is now dismissed.

         It is so ordered.

         Dated October 22, 2012.

                                                  _s/ Joseph F. Bataillon________
                                                  Joseph F. Bataillon
                                                  U.S. District Court Judge



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